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                                                                                     Exhibit 11




                               KANSAS BOARD OF REGENTS
                                        MINUTES
                                   September 14-15, 2022

The September 14, 2022, meeting of the Kansas Board of Regents was called to order by Chair
Jon Rolph at 1:30 p.m. The meeting was held in the Board Office located in the Curtis State Office
Building, 1000 S.W. Jackson, Suite 520, Topeka. Proper notice was given according to law.

MEMBERS PRESENT:                       Jon Rolph, Chair
                                       Carl Ice, Vice Chair
                                       Blake Benson
                                       John Dicus
                                       Cheryl Harrison-Lee
                                       Shelly Kiblinger
                                       Cynthia Lane
                                       Diana Mendoza
                                       Wint Winter

WELCOME AND INTRODUCTIONS
Chair Rolph welcomed Chair Jim Porter and the State Board of Education members. Members of
the Board of Regents and the State Board of Education introduced themselves.

CONSIDERATION OF DISCUSSION AGENDA

INFORMATION ON CONCURRENT ENROLLMENT TRENDS
Daniel Archer, Vice President for Academic Affairs, presented concurrent enrollment trend data.
Over the last six years, the number of high school students taking college credit courses have
increased from 28,217 in 2016 to 34,908 in 2020. Dr. Archer noted in 2021 the system saw a slight
dip in concurrent enrollment (32,603 students) due to the COVID-19 pandemic. He then reviewed
the concurrent enrollment trends within the different sectors of the higher education system. The
majority of high school students taking college credit occurs at the community colleges, followed
by the technical colleges and then the public universities. The six-year trend data for all the sectors
mirrors the overall system data with increased enrollments from 2016 to 2020 and then a slight
decline in 2021. Vice President Archer also displayed the system's six-year trend data broken
down by race and ethnicity and noted increasing access to concurrent enrollment courses for
minority students is a priority for the system. He then reviewed the Higher Learning Commission
(HLC) faculty qualification requirements for teaching concurrent and dual enrollment courses.
HLC requires faculty to hold an academic degree relevant to what they are teaching and at least
one level above the level at which they teach, and for general education courses, these
qualifications may be satisfied by a master's degree in the discipline or subfield. However, if a
faculty member holds a master's degree in a discipline or subfield other than that in which she or
he is teaching, that faculty member should have completed a minimum of 18 graduate credit hours
in the discipline in which they teach. The HLC guidance on qualifications was issued in 2015 and
institutions have until September 1, 2025 to meet the requirements. Since 2018, the percentage of
HLC qualified faculty teaching courses through concurrent enrollment has increased steadily.
Board Member Jones was pleased that more teachers are becoming certified to meet these
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     Virtual/      Northeast Magnet High School        BEL AIRE, KS                 53%
   Academy
*IA schools tied with 100% FAFSA completion.

            Most Improved FAFSA                                           FAFSA      Percent
            Completion Percentage                                         Completion Improvement
    6A      Wichita High School South          WICHITA,KS                     47%            +69%
    5A      Highland Park High School          TOPEKA,KS                      38%            +36%
    4A      Chapman High School                CHAPMAN,KS                     64%            +61%
    3A      Nickerson High School              NICKERSON, KS                  37%            +64%
    2A      McLouth High School                McLOUTH,KS                     46%            +68%
    IA      Pretty Prairie High School         PRETTY PRAIRIE,
                                                                              80%           +167%
                                               KS
  Virtual/ Garden City Achieve                 GARDEN CITY, KS                31%           +101%
 Academy

BREAK
Chair Rolph thanked the State Board of Education members for attending and noted that the Board
of Regents looks forward partnering with the State Board to move these initiatives forward. Chair
Porter adjourned the State Board's meeting, and Chair Rolph called for a break at 2:47 p.m. The
Kansas Board of Regents meeting resumed at 3:12 p.m.

APPROVAL OF MINUTES
Regent Kiblinger stated that in July 25-17, 2022 minutes there is a title in which the word "who"
should be changed to "whom." She then moved that the minutes of the June 15-16, 2022 regular
meeting, June 21, 2022 special meeting, June 22, 2022 special meeting, June 28, 2022 special
meeting, and July 25-27, 2022 retreat and budget workshop meeting, as amended, be approved.
Following the second of Regent Ice, the motion carried.

CONSIDERATION OF DISCUSSION AGENDA

Other Matters

FRAMEWORK FOR WORKFOCE MANAGEMENT- ESU
Chair Rolph highlighted that the Board received the following handouts: the Emporia State
University proposed Framework for Workforce Management, the Board's Suspension,
Terminations, and Dismissals policy that outlines the process for developing a framework, a
Resolution and response from the ESU Faculty Senate, a document that contains feedback from
ESU students along with the administration's responses, a document that contains ESU faculty
feedback along with the administration's responses, a statement from the Council of Faculty
Senate Presidents, and a petition. Chair Rolph noted that the Board received most of these
documents before the meeting and had an opportunity to review all the information provided.

President Hush and Dr. Brent Thomas, Dean of the College of Liberal Arts and Sciences and
Interim Provost and Vice President for Academic Affairs, presented Emporia State University's
proposed Workforce Management Framework. President Hush stated the Framework is a
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necessary tool to help strategically transform the University for a vibrant and sustainable future
that is focused on student success. President Hush reviewed the timeline. In January 2022, the
ESU administration communicated with faculty and staff about its plan to review the University's
operations, which included looking at its programs and curriculum offerings. Faculty and staff
were asked to provide feedback on what they would change to create a better experience for
students, colleagues, alumni, community or state, and how the University could evolve its
programs and curriculum in response to regional economic needs. The administration held four
in-person forums to gather feedback and sent out several campuswide communications reiterating
the University's intentions. In February, President Hush presented testimony to the House Higher
Education Budget Committee that outlined ESU's path forward and noted that ESU's priorities
were to optimize its existing education platform, grow enrollments, retain and recruit top talent,
and review its academic program mix.

President Hush then reviewed ESU's budgetary challenges. He noted that in the past the
University has implemented measures such as hiring freezes, spending restrictions, and voluntary
retirement opportunities to address financial challenges. He stated that these measures have only
served to push the problem forward rather than resolve it, and that the University needs a new
approach. Therefore, the University established a data driven process to review its programs, and
from this process, the University developed strategic concepts for the programs it is going to invest
in for the future. President Hush noted that the policy the Board approved will enable ESU to
align resources and invest into growth areas by doubling down in those programs that will move
the University forward. He then reviewed the ESU's proposed Workforce Management
Framework and noted that the Framework is not just another budget cutting tool but rather a
mechanism that will allow ESU to fundamentally change what it can offer to students. President
Hush stated that the proposed Framework was submitted to its shared governance groups last week
and that they provided feedback. Some of that feedback was incorporated into the Framework.

Regarding the impact on students and employees, President Hush stated that every student will
have the opportunity to complete their current degree program at Emporia State. Students will
continue to receive their current scholarships and financial aid and will have access to counseling
should they need it. President Hush stated that the vast majority of impacted employees will have
the opportunity to remain through the end of the academic year in May 2023, and they will have
the opportunity to receive an additional three months of severance pay. Employees will also
receive outplacement services and will have access to counselling.

Interim Provost Thomas reported that ESU has repeatedly absorbed budget cuts over the years by
reducing its operating budgets, eliminating annual equipment funds, and eliminating positions. He
stated the University must operate differently and make fundamental changes to how it approaches
academic offerings because the University cannot continue to expect its faculty to do more with
less. He stated the group that conducted the program review process included many academic
leaders and noted the data used to conduct the analysis is available. Interim Provost Thomas also
emphasized that the administration values tenure and understands that it cannot build a successful,
long-term program on the backs of adjunct instructors.

Chair Rolph wanted to be clear that there is a plan in place that will allow current impacted students
the ability to complete their degree at the University and that those students will continue to receive
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their scholarships and financial aid. Interim Provost Thomas stated that ESU will honor its
commitment to its students and that teach out programs are being developed. It was noted that the
proposed Framework was revised to incorporate some of the suggestions made by ESU's shared
governance groups. Regent Winter asked whether ESU received feedback from rpk Group on this
process. President Hush stated that ESU shared its methodology, rationale, and findings with rpk
and noted that rpk is continuing its own work, which should be completed by the end of the year.
Regent Ice wanted to know the estimated impact, and President Hush stated that about seven
percent of ESU's employees will be impacted. Regent Lane asked about the projected financial
health and strength of programing at the University after the Framework is implemented. President
Hush stated that the impact will not be immediate but over time it is expected to save the University
$5 million. President Hush also spoke about the importance of changing the low enrollment trend
and investing in recruitment and marketing strategies. Following discussion, Regent Lane moved
to approve Emporia State University's Framework for Workforce Management as presented. She
noted that the motion includes the proposed Framework's provisions and ESU's intent to modify,
suspend, or otherwise change the University's existing program discontinuance policy and policies
related to curriculum change as necessary to effectively accomplish its goal of restructuring to
meet current demands and to position the University for the future. Regent Lane also commented
that the Framework is a tool that should be used sparingly. Regent Winter seconded, and the
motion carried. The following Framework was approved:

                           EMPORIA STATE UNIVERSITY
                     FRAMEWORK FOR WORKFORCE MANAGEMENT

Rationale for why the Framework must be implemented. Pursuant to the Board of Regent's policy
set out at Chapter II, Section C., Paragraph 6.b., "In light of the extreme financial pressures placed
on the state universities due to the COVID-19 pandemic, decreased program and university
enrollment, and state fiscal issues, effective immediately through December 31, 2022 and
notwithstanding any other Board or institutional policy, any state university employee, including
a tenured faculty member, may be suspended, dismissed, or terminated from employment by their
respective university. Such terminations, suspensions, or dismissals shall follow the procedure set
forth below. Declaration of financial exigency and the processes associated with the declaration of
financial exigency shall not be a prerequisite to any suspension, dismissal, or termination
authorized by this provision, and no existing university policy hearing procedures shall apply to
such decisions."

         Emporia State University, which is committed to being forward focused and future ready,
is placing the needs and expectations of its current and future students at the center of its strategic
efforts. Ongoing changes in industry demands, locally and nationally, as well as changes in student
demographics and commitments to higher education affect the historical mission of ESU. The
University's primary sources ofrevenue are student tuition and taxpayer dollars provided through
the legislature. Increases in student tuition revenue are dependent on increased enrollment, which
is very difficult to achieve for any university during these times. Because ESU has experienced
extreme financial pressures accelerated by the COVID-19 pandemic, decreased program and
university enrollment, and state fiscal issues, the University continues to face increases in the cost
of operations across campus as well as substantive changes in the educational marketplace. These
increased costs include higher costs being charged by providers and suppliers, as well as the
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necessity to properly maintain and support facilities, equipment, systems, security, and personnel.
While the University is not facing financial exigency, the financial and market situations do require
a prudent review and restructuring, which will require modification, reorganization, suspension,
or elimination of certain operations, programs and curriculum, which may require immediate
action notwithstanding any other Board or institutional policy. This framework allows for a more
orderly transition to what is best for the University.

                                       The Framework:
A decision to suspend, dismiss, or terminate any university employee shall be based on factors
such as, but not limited to:
   • Low enrollment
   • Cost of operations
   • Reduction in revenues for specific departments or schools
   • Current or future market considerations as to the need for a program or department
   • Restructuring of a program, department, or school as determined to be necessary by the
        university
   • Realignment of resources
   • Performance evaluations
   • Teaching and research productivity
   • Low service productivity

A decision for action must be made in consideration of the following:
   • Relevant accreditation requirements for the program, school, or college
   • Course availability to students in order to complete degree requirements. Course
       availability means students can take necessary courses either at ESU or through another
       university or community college in Kansas.

The procedure to be followed for taking action, pursuant to Board policy, is described below:

    1. Notice. The President shall provide no less than 30 days' written notice of suspension,
       dismissal, or termination to the affected employee. This notice shall include a statement
       that this action is being taken pursuant to this policy, the reasons for the action being taken,
       the effective date of the action, and shall also include any considerations to be provided by
       the University to the affected employee (such as severance pay, payouts, retirement
       options, etc.).

    2. Appeal. The employee may appeal the action taken pursuant to this policy through the
       Board of Regents office to the Office of Administrative Hearings. Any action taken that is
       not being taken pursuant to this policy shall have solely those appeal rights provided by
       existing university policy or other applicable procedures.

    3. Appeal, Time and Content of. The employee must submit an appeal to the Board office
       within 30 days ofreceiving notice of the action. The appeal must include a copy of notice
       of the action received by the employee and a written statement with any relevant supporting
       evidence describing why the employee believes the decision for the action: (a) is
       substantially inconsistent with the university's decision-making framework approved by
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      the Board; (b) was the result of unlawful bias or discrimination; or (c) was otherwise
      unreasonable, arbitrary or capricious. These are the only grounds for reversing the
      President's decision. The employee shall provide a copy of their appeal documents to the
      President at the same time they are submitted to the Board office.

   4. Response to Appeal by President. The President shall have 30 days from receipt of the
      appeal to respond in writing to the appeal. This response shall include any supporting
      evidence or documentation. This response with supporting evidence or documentation
      shall be sent to the Board office with a copy sent to the employee at the same time. This
      30 day period can be extended for good cause as determined by the Board President and
      CEO.

   5. Submission of Appeal to Office of Administrative Hearings. Within 10 days of receiving
      the President's response to the appeal, the Board office shall refer the appeal to the Office
      of Administrative Hearings. The Office of Administrative Hearings shall provide a hearing
      and decide the appeal based on the standards stated in the Board's policy and in the
      University's framework approved by the Board. The University shall be responsible for
      fees charged by the Office of Administrative Hearings.

   6. Hearing before the Office of Administrative Hearings. The burden of proof is on the
      employee. No discovery will be permitted. The review shall be based on the written
      materials submitted, along with any oral presentation to the administrative hearing officer
      by the employee and the University. The employee and the University may be represented
      by counsel.

   7. Decision. The decision of the administrative hearing officer is final and not subject to
      further administrative review by any officer or committee of the university or by the Board
      of Regents.

   8. Action Not Stayed during Appeal. An appeal under this policy will not stay the effective
      date of the suspension, dismissal, or termination. An employee who wins their appeal will
      be entitled to reinstatement, back pay and restoration of other lost benefits.

AMEND AGENDA
Chair Rolph amended the agenda to move the next five items to the end of Thursday's agenda -
Act on New Institutional and Aspirational Peers - WSU, Act on Request to Approve Granting an
Honorary Degree - WSU, Act on Request to Name a Building - FHSU, and Act on Request to
Name a Building - KSU.

RECESS
Chair Rolph recessed the meeting at 3:54 p.m.

RECONVENE
Chair Rolph reconvened the meeting at 9:32 a.m. on Thursday, September 15, 2022.

MEMBERS PRESENT:                      Jon Rolph, Chair
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                                      Carl Ice, Vice Chair
                                      Blake Benson
                                      John Dicus
                                      Cheryl Harrison-Lee
                                      Shelly Kiblinger
                                      Cynthia Lane
                                      Diana Mendoza
                                      Wint Winter

INTRODUCTIONS
President Mason introduced Fort Hays State University's Faculty Senate President, Dr. Sammuel
Byer, University Staff Senate President, Robert Duffy, and Student Body President, Ryan Stanley.
President Linton announced that Ethan Erickson was named Kansas State University's Vice
President for Administration and Finance after a national search.

GENERAL REPORTS

REPORT FROM CHAIR
Chair Rolph welcomed Regent Dicus, Regent Benson, and Regent Mendoza to their first Board
meeting. He reported that the Board held its annual retreat and budget workshop meeting at the
end of July in Wichita. The Board received information on the institutions' budgets, reviewed the
state universities' National Institution of Student Success recommendations, and identified
potential Board goals for this year, which will be acted on later in the agenda. Chair Rolph noted
that the state university CEOs and representatives from the community and technical colleges
participated in the discussions on all three days and that the group toured WSU Tech's National
Center for Aviation Training and WSU's Deloitte Smart Factory. Chair Rolph noted that next
month Wichita State University will host the Board for a two-day campus visit. He also reported
that the Board had a productive discussion with the Council of Faculty Senate Presidents this
morning at breakfast.

REPORT FROM PRESIDENT AND CEO
President Flanders reported that the 2022 Legislature created a task force to review state funding
for the community and technical colleges. In late August the task force held a hearing that
discussed the cost model that is used to calculate the state's share of the cost to deliver courses to
students at the colleges. He believes the discussion was helpful and allowed the task force
members to better understand how the cost model has been implemented in conjunction with
legislative provisos. President Flanders thanked the Governor and Legislature for fully funding
the cost model this year. Last week President Flanders attended the Governor's Council of
Education meeting, which was held on the Fort Hays State University campus. He thanked
President Mason and her team for hosting the group. President Flanders reported that in July the
University of Kansas Caner Center announced it had earned comprehensive status, which is the
National Cancer Institute's most prestigious status. He congratulated Chancellor Girod, Dr.
Simari, and Dr. Roy Jensen and their teams, and noted that the Board will receive an update on the
Cancer Center later this year. President Flanders announced that John Yeary was selected as the
Board's new General Counsel. General Counsel Yeary previously served as the Chief Counsel for
the Kansas Department of Administration and has 25 years of legal experience with the State of
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Kansas. He then recognized and thanked Julene Miller for her 15 ½ years of service as the General
Counsel. President Flanders noted that she will still be working for the Board Office on a part
time basis before fully retiring.

REPORT FROM COUNCIL OF FACULTY SENATE PRESIDENTS
Nate Brunsell presented the report for the Council of Faculty Senate Presidents. Dr. Brunsell
thanked the Board for hosting breakfast this morning and noted the Council looks forward to
working together this year. At its meeting yesterday, the Council discussed the Emporia State
University's workforce management framework, and the members expressed their concerns for
the impacted employees and discussed how it may impact the other campuses. The Council
believes any decisions on these matters should involve the different campus constituent groups,
and those groups should be given the data and adequate time to respond. The Council also
requested that decisions be made in an open and transparent way. Additionally, Dr. Brunsell
reported that the Council discussed the Board's initiative with rpk Group. The Council noted that
each university has its own mission and urged the Board to consider their unique missions when
making decisions on programs. Chair Rolph thanked Dr. Brunsell for the feedback and noted that
the Board wants all campus groups to be involved with this process and encouraged faculty
members to participate.

REPORT FROM STUDENTS' ADVISORY COMMITTEE
The Students' Advisory Committee report was presented by Sadie Williams. The Committee held
its annual retreat at the University of Kansas in August. Chair Rolph and President Flanders
attended the retreat and provided information on what items the Board will be focusing on this
year and reviewed the Committee's role. At its meeting yesterday, the Committee began
discussing the different student fee proposals on the campuses and spoke with the Emporia State
University Student Body President about what actions are being taken to make sure students are
involved with the workforce management framework policy. Regent Ice stated the Board's Fiscal
Affairs and Audit Standing Committee looks forward to talking with the students about the fee
proposals.

UPDATE ON BUILDING A FUTURE DASHBOARD AND CONCURRENT ENROLLMENT
COLLABORATION
Regent Lane thanked Regent Kiblinger, President Shipp, President Muma, and Matt Keith for
working on the Board's draft Building a Future Dashboard. The group has focused on reviewing
the metrics and clarifying terminology in Pillar I: Helping Kansas Families. Regent Lane noted
that the structure of the Dashboard will contain the plan's Areas of Focus and the different levels
of metrics - Foundational Indicators (lagging metrics reported annually), Supporting Indicators
(leading metrics reported at least quarterly), and Systemwide Approaches (strategies tied to the
metrics). She noted the purpose of the Dashboard is to provide ongoing data to the Board and the
institutions, so that they can determine if investments are improving outcomes for students and
their families. Regent Lane then reviewed the handout that shows the proposed metrics and
believes the next step in the process is for the Board to discuss the proposed concept. Chair Rolph
stated he will work with President Flanders to determine when that discussion can occur and
expressed his appreciation for the work that the group has done. President Flanders stated that as
this work moves forward it will be important to have discussions with the university and Board
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NAME A BUILDING - KSU
President Linton recommended renaming a street on the Manhattan campus in honor of the late
Dr. Jon Wefald, who served as the 12th president of the University. President Linton stated that
President Wefald named Butterfly Lane during his tenure and believes it would be fitting to rename
it Wefald's Butterfly Lane to recognize his impact on campus. Regent Lane moved to approve,
and Regent Kiblinger seconded. The motion carried.

ADJOURNMENT
Chair Rolph adjourned the meeting at 12:43 p.m.




Blake Flanders, President and CEO                      Jon Rolph, Chair
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September 14-.15, 2022                                               Discussion Agenda I Wednesday



DISCUSSION AGENDA
      A.   Other Matters
           1.   Act on Framework for Workforce Management-                President Hush
                ESU

Summary and Recommendation
 Emporia State University is in the process of implementing the Board policy on Workforce Management as
 part of its effort to prepare and equip the University to meet current and future needs of the institution, its
 students and the surrounding community. A related part of this effort includes consideration of program
 discontinuance and curriculum change. ESU requests the Board's approval ofthe framework.

Background
ESU' s Framework for Workforce Management has been prepared pursuant to the Board's policy set out in Chapter
II, Section C., Paragraph 6.b, as modified and approved by the Board in June 2022. The rationale for why ESU
desires to implement its framework is set out within the language of the framework and is in alignment with the
Board's policy requirements. The balance of the framework describes factors on which decisions will be made
and the procedure to be followed for taking action. Again, these factors and procedures are in compliance with
the Board's policy.

Recommendation
ESU is requesting that the Board approve its Framework for Workforce Management, which includes program
discontinuance and curriculum change.




                                                             KA N S A S B O A R D O F R E G E N T S   I 67
